                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF NORTH CAROLINA




 United States of America,

                           Plaintiff;

              v.                                       No. 1:12-cv-1349

 Terry S. Johnson, in his official capacity            Judge Thomas D. Schroeder
 as Alamance County Sheriff,
                           Defendant.




       MICHAEL SONGER, pursuant to 28 U.S.C. § 1746, makes the following

declaration under penalty of perjury:


         I.        My name is Michael Songer. I am an attorney at the Civil Rights Division

                   of the United States Department of Justice in Washington, DC. I am

                   admitted to practice before the Court in this matter.

        II.        Attached as exhibits to the United States’ Motion for Summary Judgment

                   are true and correct copies of the following materials:

                      1. Excerpts from the deposition of Terry Johnson;

                      2. Excerpts from the deposition of Timothy Britt;

                      3. Memoranda of Agreement between the U.S. Department of

                          Homeland Security and ACSO covering the period 2007-2012;




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          4. Excerpts from the deposition of Chris Crain;

          5. Declaration of Adam Nicholson;

          6. Excerpts from the deposition of Sheriff Harrison;

          7. Excerpts from the deposition of Sheriff Jones;

          8. Excerpts from the deposition of Sheriff Page;

          9. Excerpts from the deposition of Roger Lloyd;

          10. Excerpts from the deposition of Kenneth Evans;

          11. Declaration of Steve Perry;

          12. Declaration of Kenneth Evans;

          13. Excerpts from the deposition of Jeffrey Randleman;

          14. Excerpts from the deposition of Paul Crotts;

          15. Email from Mario Wiley attaching “Border Patrol” video game,

             bates number 121291;

          16. Excerpts from the deposition of Mario Wiley;

          17. Email titled “profiling,” bates number 115728-29;

          18. Email titled “slow response,” bates number 150194;

          19. Excerpts from the deposition of Shelton Brown;

          20. Email from Randy Jones, bates number 155436-37;

          21. Email from Charlie Stewart titled “dumbest illegal immigrant,” bates

             number 077065-66;

          22. Email titled “Rules for Kicking Ass”;

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          23. Excerpts from the deposition of Brian Allen;

          24. Excerpts from the deposition of James Crabtree;

          25. Excerpts from the deposition of David Cobb;

          26. Excerpts from the deposition of Randy Denham;

          27. Excerpts from the deposition of Steven Helms;

          28. Excerpts from the deposition of Alan Miles;

          29. Excerpts from the deposition of Jeffrey Snyder;

          30. Excerpts from the deposition of Kurt Lankford;

          31. Excerpts from the deposition of Jerry Williams;

          32. Excerpts from the deposition of David Crowder;

          33. Excerpts from the deposition of Jackie Fortner;

          34. Excerpts from the deposition of Michael Hoover;

          35. Excerpts from the deposition of Chris Lafferty;

          36. Excerpts from the deposition of Brandon Wilkerson;

          37. Excerpts from the deposition of Kim Wilson;

          38. Excerpts from the deposition of Magistrate Susan Wortinger;

          39. Excerpts from the deposition of Sheriff Welch;

          40. Excerpts from the deposition of Sheriff Marshall;

          41. Expert report of Dr. John Lamberth;

          42. Expert rebuttal report of Dr. John Lamberth;

          43. Excerpts from deposition of Dr. David Banks;

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          44. Expert report of Dr. John MacDonald;

          45. Excerpts from report of Dr. David Banks;

          46. Excerpts from the deposition of James Conklin;

          47. Excerpts from the deposition of Arnold Husser;

          48. Excerpts from the deposition of Jessica Rosales;

          49. Excerpts from the deposition of Jose Luis Arzola;

          50. Excerpts from the deposition of Yessenia Cruz Cruz;

          51. Declaration of Miguel Salinas Cruz;

          52. Declaration of Juan Carlos Reyes Montoya;

          53. Excerpts from the deposition of Paula Crotts;

          54. Excerpts from the deposition of Maria Noemy Gonzales;

          55. Expert report of Sheriff Margo Frasier;

          56. Excerpts from the deposition of Dr. Laura Roselle;

          57. June 2010 Notice of Investigation from U.S. Department of Justice;

          58. Excerpts from the deposition of Carlos Rossi;

          59. Excerpts from the deposition of Sarah Keller;

          60. Excerpts from the deposition of Mark Dockery;

          61. Excerpts from deposition of Troy Anthony;

          62. Dr. John MacDonald expert rebuttal report; and

          63. Table of reasons for ACSO traffic stops prepared by Dr. John

             MacDonald.

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